                                                                             Motion GRANTED
                                                                             conditioned upon the
                           UNITED STATES DISTRICT COURT                      timely filing of a waiver
                           MIDDLE DISTRICT OF TENNESSEE                      of speedy trial.
                                NASHVILLE SECTION



UNITED STATES OF AMERICA                     ]
                                             ]
VS.                                          ]       CRIM. CASE NO. 1:12-CR-00001
                                             ]       JUDGE TRAUGER
WAYNE HAMPTON                                ]




                              MOTION TO CONTINUE TRIAL



       Comes now the Defendant, through undersigned counsel, and moves this Honorable

Court to continue the trial in this cause. As grounds therefore, the Defendant would show as

follows:

       1.      The trial is currently set for September 18, 2012, by Order of this Court. [Doc.

               No. 49]

       2.      On August 3, 2012, the Defendant was scheduled to enter a change of plea. The

               Defendant changed his mind about pleading guilty and so informed the Court.

       3.      On August 31, 2012, a status hearing was conducted, at the conclusion of which

               the Court ordered the Defendant to inform the U.S. Government by Friday,

               September 7, 2012, of intent to enter a plea or proceed to trial. [Doc. No. 48] By

               separate Order, the Court set the trial date for September 18, 2012. [Doc. No. 49]

       4.      On September 11, 2012, the Defendant informed counsel, and counsel in turn

               informed the U.S. Government, that the Defendant would proceed to trial.




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